Case 2:23-cv-00050-BMM Document 55-6 Filed 11/28/23 Page 1 of 4




                  Exhibit 6
   Declaration of Rachel Corcoran
           (July 17, 2023)
DocuSign Envelope ID: 79711FA8-C43A-4A3F-9C8B-AF538BCDB503
                     Case 2:23-cv-00050-BMM Document 55-6 Filed 11/28/23 Page 2 of 4



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                UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                                  BUTTE DIVISION

            THE IMPERIAL SOVEREIGN COURT
            OF THE STATE OF MONTANA; ADRIA
            JAWORT; RACHEL CORCORAN;
            MONTANA BOOK COMPANY; IMAGINE
            BREWING COMPANY, LLC d/b/a                           Cause No. CV 23-50-BU-
            IMAGINE NATION BREWING                                       BMM
            COMPANY; BUMBLEBEE AERIAL
            FITNESS; MONTANA PRIDE; THE
            WESTERN MONTANA COMMUNITY                                 Declaration of
            CENTER; THE GREAT FALLS LGBTQ+                           Rachel Corcoran
            CENTER; THE ROXY THEATER; and
            THE MYRNA LOY,

                                              Plaintiffs,
                              vs.

             AUSTIN KNUDSEN; ELSIE ARNTZEN;
             J.P. GALLAGHER; and THE CITY OF
             HELENA,

                                              Defendants.
DocuSign Envelope ID: 79711FA8-C43A-4A3F-9C8B-AF538BCDB503
                     Case 2:23-cv-00050-BMM Document 55-6 Filed 11/28/23 Page 3 of 4



            I, Rachel Corcoran, declare as follows:

            1.       I am over the age of eighteen years, am competent to testify as to

                     the matters set forth herein, and I make this declaration based

                     upon my personal knowledge and belief.

            2.       I am a resident of Billings, Montana.

            3.       I have been a licensed teacher in Montana since 2010. I taught in

                     Billings Public Schools for over a decade and am currently an

                     English Language Learners Instructional Coach for Billings

                     Public Schools.

            4.       Prior to becoming an instructional coach, I regularly taught

                     Special Education classes, specifically helping highschoolers learn

                     to love reading.

            5.       I frequently used costumes and props in my classroom lessons,

                     including dressing up as fictional characters from books to further

                     engage my students in learning. My students also dressed up as

                     fictional characters to help them engage with the books they read.

            6.       I continue to dress up to celebrate Red Ribbon Week, homecoming,

                     and other schoolwide events. When I dress up along with my

                     students, I am showing them that we are unified, and it builds a


                                                                                          2
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DocuSign Envelope ID: 79711FA8-C43A-4A3F-9C8B-AF538BCDB503
                     Case 2:23-cv-00050-BMM Document 55-6 Filed 11/28/23 Page 4 of 4



                     relationship of respect and shared excitement for learning and

                     reading.

            7.       I find this teaching strategy helpful for engaging with my students

                     and fostering a successful and welcoming learning environment.

            8.       I dress up as fictional and historical characters without regard for

                     the gender or sex of the person being portrayed.

            9.       House Bill 359 (“HB 359”) appears to ban teachers from reading to

                     or engaging in learning activities with students while dressed in a

                     gendered costume at school.

            10.      If I read to or engage in other learning activities with students

                     while dressed up in a gendered costume, it appears that I could

                     face criminal, civil, and occupational penalties.

            11.      Though I am fearful of HB 359’s penalties, I still plan to dress up

                     to celebrate the success of my students, cultivate a sense of

                     community, and further encourage learning in the classroom.

            I declare under penalty of perjury that the foregoing is true and correct.

            DATED this 17th day of July, 2023, in Billings, Montana.



                                                             Rachel Corcoran


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            Declaration of Rachel Corcoran
